                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


 CEFERINO CRISOSTOMO LOPEZ,                     )
                                                )
         Plaintiff,                             )
                                                )
 v.                                             )   No. 3:20-cv-01073
                                                )
 SADDLER FUNERAL HOME AND                       )
 CREMATORY SERVICES, et al.,                    )
                                                )
         Defendants.                            )

                                           ORDER

        On March 18, 2021, Defendant Nelson and Sons Memorial Chapel LLC (“Nelson”) filed

a Motion to Dismiss Complaint (Doc. No. 19). While that motion was pending, Plaintiff filed a

First Amended Complaint on April 1, 2021. (Doc. No. 21). Because the First Amended Complaint

is now the legally operative complaint in this case, see Parry v. Mohawk Motors of Mich., Inc.,

236 F.3d 299, 306–07 (6th Cir. 2000), Nelson’s original motion to dismiss (Doc. No. 19) is

DENIED AS MOOT.

        The Court will consider Nelson’s Second Motion to Dismiss Amended Complaint (Doc.

No. 27) in due course.

        IT IS SO ORDERED.




                                           ____________________________________
                                           WAVERLY D. CRENSHAW, JR.
                                           CHIEF UNITED STATES DISTRICT JUDGE




      Case 3:20-cv-01073 Document 33 Filed 06/14/21 Page 1 of 1 PageID #: 238
